
LYONS, Judge,
delivered the resolution of the Court as follows: “ The Court not deciding at present, whether the Court of Chancery may allow a bill of review, to reverse a decree of this Court, or the decree of the County Court, for new matter discovered after the decree was made, or „is precluded therefrom,* is of opinion, that the new testimony in this cause does not prove any material fact, which was not known to the appellee before the hearing of the original cause in the County Court, and that the new matter proved by the testimony aforesaid, is not sufficient ground for the reversal of the former decree of this Court.† That, therefore, the decree of the High Court of Chancery was to be reversed, and the bill of review dismissed. ”

[* See Randolphs ex’r. v. Randolph's ex'rs. et al. 1 H. &amp; M. 180.] Munf. 805; Franklin v. Wilkinson, 3 Munf. 112; Livingston v. Hubbs


[† Winston v. Johnson's ex'rs, 2 et al. 3 Johns, ch. R. 124.]

